Case 6:16-cr-00145-DDD-P.]H Document 30 Filed 03/08/17 Page 1 of 5 Page|D #: 111

Q,R ZEE C(Sl§t :F/V JE:gri;e-§t in a Criminal Case for Organizational Defendants

 

MAR “ 8 W` UNITED S_TATES DISTRICT CoURT

TONY Fl. MOOFZE, CLEHK

 

WESTNE§"»°A%§?A°."L§S'SS\§'§ P’ Disfrict Of LAFAYETTE
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V_ (F or Organizational Defendants)
WOOD GROUP p S N INC_ CASE NUMBER: 6:16-CR-00145-Ol

Defendant Organization’s Attorney Nadi!`a Clal‘k€, Llly ChlIl, GlCIl

THE DEFENDANT ORGANIZATION: Donath & Wmiams Gibbens
X pleaded guilty to count(s) one

l:] pleaded nolo contendere to count(s)
which was accepted bV the court.

 

|:l Was found guilty on count(s)
after a plea of not guiltv.

The organizational defendant is adjudicated guilty of these offenses:

 

Title & Sectioni Nature of Offense Offense Ended Count
18:1001.1: Statements Or Entries Generally-False 07/14/2014 l

Writing Or Documents

 

The defendant organization is sentenced as provided in pages 2 through 5 of this judgment.

l:l The defendant organization has been found not guilty on count(s)

 

|:l Count(s) is |:l are dismissed on the motion of the United States,

 

lt is ordered that the defendant organization must notify the United States attorney for this district Within 30 days of any
change of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant organization must notify the court and United States attorney
of material changes in economic circumstances

Defendant Organization’s
Federal Employer I.D. No.:

 

Date of Irnnosition of Judgment Febl'llaI`V 23. 2017
Defendant Organization’s Principal Business Address:

‘Y/ S[:NT 2 Siznature of Judgf</\ §§/// § ,»\,`_)\
E __3'_&;1¥>_-.__ l 7 -

B Y -- Name and rule orange DEE D. DRELL. United states Disrrict Judge

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Defendant Organization’s Mailing ddres`s‘:d` 50

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§AO 245E (Rev. 12/03) Judgment in a Criminal Case for Organizatiorial Defendants
Sheet l

 

AO 245E (Rev. 12/033 Judgment in a Criminal Case for Organizational Defendants
Sheet 2 - Probation

Jud_gment-Pz_ige 2 of 5

DEFENDANT oRGANizATIoN: WOOD GROUP P S N INC
cAsE NUMBER; 6;16-CR-00145-01

PROBATION

The defendant organization is hereby sentenced to probation for a term of : 3 years, to run concurrently with case number
61 l6-cr-00192

 

The defendant organization shall not commit another federal. state or local crirne.

If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization
pav in accordance with the Schedule of Pavments sheet of this iudgment.

 

The defendant organization must comp_l _wi_th the standard conditions that have been adopted by this court as well as with
anv additional conditions on the attached page (i indicated belowl.

STANDARD CONDI'I`IONS OF SUPERVISION

l) within thirty days nom the date of this judjgment, the defendant organization shall designate an official of the organization to
act as the organi7ations’s representative an to be the primarv contact with the probation officer'

2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officeiM

35 the defendant organization shall notifv the probation officer ten davs prior to anv change in principal business or mailing address:

4)

5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
litigation or administrative proceeding against the organi7ation'

6) the defendant organization shall not dissolve,_change its na_rne, or change the name under which it does business unless this
judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against
the defendant’s successors or assignees and

7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.

 

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AO 245E (Rev_ 12/03l Judgment in a Criminal Case for Organizational Defendants
Sheet 2B - Probation

Judgment-Page 3 of 5

DEFENDANT ORGANIZATION: WOOD GROUP P S N lNC
CASE NUMBER: 6: l 6-CR-OO l 92-01

SPECIAL CONDITIONS OF SUPERVISION

1. The company a rees that it shall not ommit any rther criminal violati ns, in ludin those
fe§[l§()i‘altlaws an regu ations for whic primary en orcement has been de eegate to sta e
au o 1 ies
2. Grou PSN, nc. As allde er into a com lipnce agre me tyvirtt the 1OEnvironmfeiHal
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1 ci ents no -c<l)i§ip1 p.iance
4. e com any s a ebs€i:g ate an official of the orglanizUatiSon to act as the rganization’ s
re resen ativeS nclt e§:l}eep primary contact with Probation Of§ce
:l§ comp a provi §itten fnotice tot gove ment, BSEE, an the U. S. Probation
pé:ys ailpnge in its corporate name, (ii) any

 

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AO 245E (Rev. 12/031 Jud.<zment in a Criminal Case for Oraanizational Defendants
Sheet 3 _ Criminal Monetarv Penalties

ludgment - Pz_ige 4 of 5

DEFENDANT ORGANIZATION: WOOD GROUP P S N INC
CASE NUMBER: 6'16-CR-00145-01

CRIMINAL MONETARY PENALTIES

   

~ Assessment _$l.QQOQ_._U)_O_ Restitution $
TOTALS $ 400.00

. An Amended Judgmem‘ in a Criminal Case (AO 245C) Will
|:l The determination of restitution is deferred until be

entered after such determination

ij The defendant organization shall make restitution (includinz communitv restitutiom to the following pavees in the amount listed
below

If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the riority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims
must be paid be ore the United States is paid.

Name of Pavee Total Loss* BEM Prioritv or Percentage

TOTALS $ $

m The defendant organization shall pav interest on restitution or a fme of more than $2.500. unless the restitution or fine is paid in full
before the fifteenth dav after the date of the iudizment. pursuant to 18 U.S.C. § 3612(11. All of the pavinth options on Sheet 4 mav
be subiect to penalties for delinauencv and default pursuant to 18 U S C 8 3612(§1

 

X the interest reouirement is Waived for the X fine X restitution

|:l the interest requirement for the l:l fine l:l restitution is modified as follows'

 

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before Apri123, 1996.

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Judgment - Page 5 of 5

DEFENDANT ORGANIZATION: WOOD GROUP P S N lNC
CASE NUMBER: 6116-CR-OOl45-Ol

SCHEDULE OF PAYMENTS

Having assessed the organization’s abilitv to nav. navment of the total criminal monetarv nenalties are due as follows:

A )Lumn sum navment of $ 7 000 400 due immediatelv balance due

|:i not later than or
in accordance with m C 01' i:i D belOW§ Or

 

 

      

                             

B [Payment to begin immediately (may be combined With i:] C Or l:] D below)- Or

C [Pavment in MMMMMMMMMM…QMML__
(e g months or vearsl to commence (e g 30 or 60 davsl after the date of this iudgment' or

D l‘. ' la ll l‘l.v n'll o‘l.v l. 'u»l' ¢'.¢ ¢' n'a »'

                           

organization shall pay community service to in the amount of: $300,000 to West Cove Living Shoreline Project, payable to The Nature
Conservancy, P.O. Box 4125, Baton Rouge, LA. 70821, ATT: Amy Smith Kyle; $100,000 to Barataria~Terrebonne National Estuary
Program, payable to Barataria-Terrebonne National Estuary Program (BTNEP), 320 Audubon Drive, NSU North Babington Hall,
Thibodaux, LA. 70301, ATT: Susan Testroet-Bergeron or Linda Tabor; $50,000 to Nature Conservancy (WDLA projects, Rockefeller
WMA shoreline project/Oyster Restoration Proposal) payable to The Nature Conservancy, P.O. Box 4125, Baton Rouge, LA. 70821
ATT: Amy Smith Kyle; and $50,000 to the Southern Environmental Enforcement Network (SEEN), payable to Southern
Environmental Enforcement Network Inc., 3950 Cobb Parkway, NW, Suite 703, Acworth, GA 30101, ATT: Michael J. Daniels.

All criminal monetary penalties are made to the clerk of the court.

|:| Joint and Several

Defendant and Co~Defendant Names and Case Nurnbers (including defendant number), Total Amcunt, Joint and Several Amount, and
corresncnding navee. if annror)riate.

|:] ll\ade£madanmrganizancnshahnalthucst Of nrcsecution

|:| The defendant 0rgani7ation shall nav the following court cost(Sl'

 

|:| The defendant organization shall forfeit the defendant organization’s interest in the following nror)ertv to the United States:

Payments shall be applied in the following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5l fine interest. (6) communitv restitution (7l r)ena ties. and (8) costs. including cost of r)rosecution and court costs.

